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                                                                                                              AND SRI LANKA




 June 23, 2020


 VIA E-MAIL

 The Honorable Robert B. Kugler
 United States District Judge
 District of New Jersey

 The Honorable Joel Schneider
 United States Magistrate Judge
 District of New Jersey


             Re:       In re Valsartan, Losartan, and Irbesartan Products Liability Litigation
                       Case No. 1:19-md-02875-RBK-JS

 Dear Judge Kugler and Judge Schneider:

        This letter is to provide Defendants’ positions with respect to the topics on the agenda for
 the conference with the Court on June 24.

 1.          Plaintiff Fact Sheets

        The parties held a meet and confer on June 22, 2020, and Defendants believe they have
 reached a general consensus on most, but not all, of this process. Plaintiffs have asked Defendants
 for additional information, such as a list with the complete contact information for the attorneys
 signing individual deficiency notices, which Defendants have agreed to provide.

         In addition to providing contact information for Defendants, and continuing to meet and
 confer with any individual counsel who will respond to the deficiency letter, Defendants have
 offered to set regular M&C times on a weekly or biweekly basis to speak with individual Plaintiff’s
 counsel or liaison counsel as needed. Defendants also believe the parties are in agreement that a
 show cause order may be entered over the next few weeks, ordering the listed Plaintiffs who have

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 appeared on two consecutive agenda lists to appear at the July CMC and show cause as to why
 their cases should not be dismissed with prejudice. Defendants have agreed they will continue to
 meet and confer with individual Plaintiff’s counsel in the interim and will withdraw the show cause
 request with respect to any Plaintiff who cures their core deficiencies.

         The current disconnect with Plaintiffs’ liaison counsel is that Defendants do not believe a
 separate argument before the Court at the mid-month discovery teleconference on individual
 Plaintiff’s Fact Sheet deficiencies is necessary before the order to show cause is issued. To the
 extent Plaintiffs wish to raise larger objections to categories of core deficiencies or other “macro-
 type” issues—like the two items Defendants brought to the Court’s attention regarding the form
 of authorizations and some Plaintiffs refusing to provide an estimate of medical expenses—these
 issues can properly be argued to the Court and resolved as a separate agenda item at upcoming
 teleconferences. However, there is no need for the Court to hear two separate arguments on each
 and every individualized PFS deficiency: (1) whether the alleged deficiency justifies entry of a
 show cause order; and (2) whether Plaintiffs have shown good cause with respect to said
 deficiency.

         Defendants believe the text and intent of the process approved by the court in CMO-16 and
 adopted from Benicar contemplates that the parties will meet and confer, and if the PFS deficiency
 dispute is unresolved after a Plaintiff has received a deficiency notice and been listed on the agenda
 for two CMCs, Defendants will request an order to show cause as to that Plaintiff. Thereafter, the
 parties may still continue to meet and confer, and if the dispute is not resolved Plaintiff’s counsel
 will be required to appear—once—at the next CMC in response to the show cause order, at which
 time the Court will hear argument on individual disputes as needed.

         To facilitate this process, Defendants propose that, as requested by Plaintiffs’ counsel, an
 updated list of deficient cases, further revising the agenda list attached as Exhibit A will be
 provided to Plaintiffs by June 29, 2020. By July 6, 2020, Defendants will request a show cause
 order returnable at the July CMC as to any cases with unresolved deficiencies. Defendants have
 committed that they will continue to meet and confer prior to the July CMC, and the parties may
 address any overarching disputes by listing them as agenda items on the mid-month
 teleconference. However, there is no need nor basis for a separate argument prior to Defendants
 requesting and the Court entering a show cause order.

 2.     Manufacturer Sales and Pricing Productions

        ZHP and Solco

         ZHP and Solco believe they have reached an agreement with Plaintiffs to continue to meet
 and confer regarding certain requests relating to ZHP and Solco’s sales and pricing information,
 as set forth below.
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         After months of negotiations, the Court approved one document request, with five sub-
 parts, regarding the Manufacturer Defendants’ sales and pricing. That request (“Doc. Req. 107”),
 requires the Manufacturer Defendants to produce:

        [D]ocuments sufficient to show (i) the customers to whom you sold valsartan API
        or valsartan finished dose, (ii) unique identifiers for product sold (e.g., lot number,
        batch number, NDC code, etc.), (iii) quantities of valsartan API or valsartan
        finished dose sold, (iv) dates of sale, and (v) net and gross price per sale.

 ECF 328 at pdf page 16 (emphasis added).

         Solco produced sales and pricing information sufficient to show the information sought by
 Doc. Req. 107 by June 2, 2020. 1 As agreed to during the preliminary Court conference on sales
 and pricing on June 3, 2020, ZHP intends to supplement its earlier sales and pricing productions,
 dated May 15 and June 2, with its production of hard copy invoices (for sales of API) and purchase
 orders (for sales of finished dose to Solco) by July 6, 2020, thereby completing its production of
 the information sought by Doc. Req. 107.

         Notwithstanding that during the June 3 conference Plaintiffs focused on just two issues
 regarding ZHP and Solco’s sales and pricing information, on June 8, 2020, Plaintiffs sent ZHP and
 Solco a twelve-page letter containing more than 130 questions. See Ex. B. 2 While some of these
 questions sought clarity about documents ZHP and Solco have produced or intended to produce,
 many of these were new requests seeking information about core discovery already produced or
 about Solco’s data systems, despite there being no dispute that Solco produced electronic
 transactional sales data for each sale of valsartan. ZHP and Solco have expressed to the Court, see
 ECF No. 477, and Plaintiffs their view that the letter is overreaching and harassing, and an
 improper attempt to exploit the meet and confer process. Nevertheless, ZHP and Solco also have
 already responded to at least 60 of the questions, and have agreed to follow up with answers to at
 least another ten. See Exs. C & D (answering questions regarding dates of sales, interaction

 1
   Solco’s Sales Spreadsheet (SOLCO00005386) includes for each sale of valsartan finished dose
 on a transactional basis: (i) customer, (ii) unique identifier (both NDC and lot number), (iii)
 quantity, (iv) date, and (v) gross price per sale. The only portion of Doc. Req. 107 not included in
 that spreadsheet is net price per sale, because that is not something that Solco tracks (or could
 possibly track) on a transaction-by-transaction basis in the ordinary course of business. To try to
 respond in good faith to the portion of the document request seeking net sales, and given Plaintiffs’
 representation that they would accept aggregate data, Solco produced a spreadsheet that shows on
 an annual basis for each valsartan finished dose product sold, the step by step figures to go from
 gross to net income (SOLCO00005387).
 2
   Herein, Plaintiffs’ June 8, 2020 letter will be referred to as Exhibit B. Because Exhibits B-E
 contain content designated RESTRICTED CONFIDENTIAL, they will not be filed on the public
 docket, but will instead be sent in a confidential email submission to the Court for reference.
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 between Solco’s sales and pricing productions and productions in core discovery, and questions
 regarding fields in multiple spreadsheets).

         On June 22, 2020, counsel for the parties held a telephonic meet and confer in which
 counsel for ZHP and Solco explained the burdensome nature of Plaintiffs’ requests, especially
 given their focus on information in China, and requested that Plaintiffs demonstrate a need for the
 additional information requested by their letter, or make an attempt at narrowing their requests for
 that information so that the parties could meet and confer about additional information ZHP and
 Solco might produce. Accordingly, Plaintiffs sent a letter to ZHP and Solco on the evening of June
 22, see Ex. E, which purports to revise certain of the requests set forth in Plaintiffs’ letter dated
 June 8. Counsel for ZHP and Solco intend to carefully evaluate Plaintiffs’ most recent letter,
 discuss it with their clients, and meet and confer with Plaintiffs about it.

         Last week, the Court stated that it would attempt to resolve ripe sales and pricing issues
 this week, but if the defendant has not had time to respond or get its ducks in a row, then the issue
 will be reserved for resolution, if necessary, in July. 6/17/20 Tr. at 44:12-17 (“If the issue is
 premature and the defendants don’t have an adequate time to respond or get their ducks in order,
 we won’t decide the issue”). 3 Currently, there is no ripe issue. With their letter dated June 22,
 Plaintiffs have only just attempted to close the gap between their original 130+ requests and the
 approximately 70 requests to which ZHP and Solco have agreed to respond. ZHP and Solco have
 not had adequate time to evaluate Plaintiffs’ revised requests in order to determine how to respond.
 The parties should continue to meet and confer to hopefully reach agreement before the end of
 July conference.

        Mylan Defendants

         In accordance with the Court’s Order of April 20, 2020, Dkt. 416, Mylan made its initial
 production of sales and pricing documents on May 15. Since that time, Mylan has engaged in the
 meet-and-confer process with members of Plaintiffs’ leadership group. Pursuant to those
 discussions, Mylan served a supplemental production of documents earlier today. Mylan believes
 that, with the provision of these materials, Mylan has largely complied with Plaintiffs’ requests.
 However, should Plaintiffs seek additional information, Mylan will continue to participate in the
 meet-and-confer process in good faith to address Plaintiffs’ concerns.



 3
   After the June 3, 2020, preliminary conference on sales and pricing issues, the Court instructed
 the parties that the “meet and confer discussions regarding the sales and pricing documents to be
 produced shall continue before and after July 6 [the date of ZHP’s supplemental production],”
 and that any “future disputes regarding this topic will be addressed at the mid or late July
 conference.” June 3, 2020 email from Judge Schneider. During the June 17, 2020 conference, the
 Court clarified its intention that any sales and pricing disputes will be addressed “at the late July
 conference.” 6/17/20 Tr. at 7:21-8:1.
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 3.     Plaintiffs’ Requests for Exemplar Transactional Documents

       Separate from Doc. Req. 107, Plaintiffs have also requested what they deem to be
 “exemplar” documents that correspond with valsartan sales, such as invoices and purchase orders.

        ZHP and Solco

         On June 15, 2020, counsel for Plaintiffs sent counsel for ZHP and Solco Plaintiffs’ request
 for exemplars. On June 17, 2020, counsel for ZHP and Solco responded, asking a clarifying
 question, which was never answered. On June 22, 2020, counsel for ZHP and Solco requested a
 telephonic meet and confer regarding Plaintiffs’ requests. That conference took place today, June
 23. During that conference, counsel for ZHP and Solco explained that, as regards product
 identification/tracing, Solco’s core discovery and sales and pricing document productions already
 allow Plaintiffs to track which ZHP API batch was used to make which ZHP finished dose lot and
 which ZHP finished dose lot Solco sold to which of its customers. Nevertheless, Solco agreed to
 produce on a rolling basis examples of purchase orders and invoices for sales of finished dose
 valsartan to two wholesalers and two retailers.

        Teva Defendants

         Counsel for the Teva Defendants (“Teva”) engaged in a meet and confer with Plaintiffs’
 counsel on Monday, June 15, 2020. At that time, Plaintiffs’ counsel asked whether Teva would
 be able to produce exemplar documents kept in the ordinary course of business including (1)
 invoices and/or purchase orders between Teva and its customers and (2) documents included in
 the shipment of finished dose valsartan between Teva and its customers. On Monday, June 22,
 2020, counsel for Teva informed Plaintiffs’ counsel that it hopes to provide more information
 about what types documents Teva would be able to provide by the end of this week.

 4.     Downstream Defendants

         Pursuant to the extension of the deadline for plaintiffs’ reply in support of their letter brief
 on macro-discovery issues, the macro-discovery issues regarding downstream defendants will be
 taken up at the teleconference scheduled with the Court and the parties on July 6, 2020, at 1:30
 pm. Other than the plaintiffs’ fact sheet/show cause process issue that affects all defendants, there
 are no agenda items for the June 24, 2020, conference specific to the Retailer defendants, and
 plaintiffs and the Retailer defendants have not conferred regarding any specific agenda items for
 the conference.

         Wholesaler defendants met and conferred with plaintiffs’ counsel on June 23, 2020,
 regarding plaintiffs’ request for “exemplar documents.” “Exemplar documents” are the subject of
 plaintiffs’ yet to be finalized requests for production numbers 6 and 8 in plaintiffs’ Second
 Amended Requests for Production of Documents to Wholesaler Defendants, (See Dkt. No. 413-
 3). The meet and confer was purportedly to discuss accommodating Plaintiffs’ counsel with an
 early potential production of a certain subset of “exemplar documents” in connection with similar
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 “exemplar documents” recently produced by manufacturer defendants and which Plaintiffs sought
 prior to the service of the finalized negotiated RFPs. While discussing the “exemplar documents”
 received from manufacturers and the subset of “exemplar documents” plaintiffs currently seek on
 an expedited basis from Wholesaler defendants, plaintiffs’ counsel announced for the first time
 that plaintiffs may seek to add a new RFP never discussed and certainly not briefed - production
 of copies of all shipment documents for Wholesaler transactions with manufacturers and retailers
 for an eight year time period This request has never been made of Wholesalers, there has never
 been a meet and confer regarding such a request, the issue has never been raised as a “macro”
 issue, the issue has never appeared on an agenda to the Court and the request and burden related
 thereto has certainly never been briefed. Wholesaler defendants object to any attempt by plaintiffs
 to suggest that the issue of production of such documents is a matter before the Court or ripe for
 discussion with the Court.



                                                      Respectfully submitted,

                                                      /s/ Seth A. Goldberg

                                                      Seth A. Goldberg




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